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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 CINDY LANDEEN,                             )
      Petitioner/Counterclaim Defendant,    )
                                            )
       vs.                                  )                1:04-cv-1815-LJM-WTL
                                            )
 PHONEBILLIT, INC. and                      )
 MIRROR MEDIA COMPANY,                      )
       Respondents/Counterclaim Defendants, )
 _______________________________________)
 STEVEN V. SANN,                            )
       Respondent/Intervenor/Counterclaim   )
       Plaintiff,                           )
                                            )
       vs.                                  )
                                            )
 NEIL LUCAS,                                )
       Respondent/Intervenor/               )
       Counterclaim Defendant.              )

                                              ORDER

        This    cause    is   now    before    the   Court     on   several    motions   filed   by

 respondent/intervenor/counterclaim plaintiff, Steven V. Sann (“Sann”): (1) Sann’s Notice of

 Objections to the Magistrate Judge’s entry of November 6, 2006, that denied Sann’s Motion to Name

 Expert Witness, Docket No. 228; (2) Sann’s Motion for Oral Argument on that Notice, Docket No.

 229; (3) Sann’s Appeal of Magistrate Judge’s Decision to District Court, Docket No. 273; (4) Sann’s

 Motion for Oral Argument on that Appeal, Docket No. 274.

        The Court finds the briefing of the issues adequate, therefore, Sann’s motions for oral

 argument, Docket Nos. 229 and 274, are DENIED.
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                                          I. BACKGROUND

        At the end of August 2006, Sann obtained new counsel in this suit. Shortly thereafter, on

 September 1, 2006, respondent/intervenor/counterclaim defendant, Neil Lucas (“Lucas”), first

 produced to Sann all non-privileged discovery responses, after over a year of requests by Sann for

 such discovery. Faced with the discovery deadline of October 23, 2006, on October 22, 2006, Sann

 filed a motion to compel discovery from Lucas. The Magistrate Judge denied this motion because

 Sann had failed to comply with the requirements of Local Rule 37.11 with respect to that discovery.

 Sann contends that his failure to follow the rule was justified in light of Lucas’ belated and

 incomplete discovery responses. Sann objects to the Magistrate Judge’s strict application of Local

 Rule 37.1.

        On November 6, 2006, Sann filed a Motion for Leave of Court to Name Expert Witness.

 Case Management Plan deadline for filing expert witness disclosures had expired on September 29,

 2006. The Magistrate Judge denied the request. On November 9, 2006, Sann filed a Motion to

 Reconsider that ruling. Sann argued that pursuant to Lucas’ and petitioner/counterclaim defendant’s,

 Cindy Landeen (“Landeen”), prior discovery abuses, he should be allowed to file his expert witness

 disclosure after the relevant deadline. The Magistrate Judge found that Sann had failed to provide

 evidence of excusable neglect pursuant to Federal Rule of Civil Procedure 6(b)(2), and denied

 Sann’s motion to reconsider.



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            Southern District of Indiana Local Rule 37.1 states, in relevant part:

        The Court may deny any discovery motion . . . unless counsel for the moving
        party files with the Court, at the time of filing the motion, a separate statement
        showing that the attorney making the motion has made a reasonable effort to reach
        agreement with opposing attorney(s) on the matter(s) set forth in the motion.

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         On November 8, 2006, Sann filed a Motion to Compel Discovery against Landeen. Sann

 argued that certain of Landeen’s answers to interrogatories and responses to request for production

 of documents were deficient. The Magistrate Judge denied Sann’s request because he failed to

 explain the relevance of the requested discovery in his motion, and Sann failed to file a reply to

 Landeen’s opposition. Sann asserts that the Magistrate Judge erred. Sann contends that the

 relevance of the information should have been obvious to the Magistrate Judge given the context of

 the discourse between the attorneys as reflected in his exhibits. In addition, Sann argues that the

 Magistrate Judge’s order would require him to know how Landeen’s responses to discovery requests

 were deficient without her ever having answered any of the requests.

         Sann also argues that the Magistrate Judge’s decision to deny his Emergency Motion to

 Reopen Discovery was in error.



         II. STANDARD ON OBJECTIONS TO MAGISTRATE JUDGE’S ORDER

         The Court’s review of a magistrate judge’s discovery order is governed by Rule 72(a), which

 states: “The district judge to whom the case is assigned shall consider such objections and shall

 modify or set aside any portion of the magistrate judge’s order found to be clearly erroneous or

 contrary to law.” Using the clear error standard, the Court will overturn the Magistrate Judge’s

 ruling in the instant case “only if [it] is left with the definite and firm conviction that a mistake has

 been made.” Weeks v. Samsung Heavy Indus., Ltd., 126 F.3d 926, 943 (7th Cir. 1997).




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                                         III. DISCUSSION

        First, Sann argues that the Magistrate Judge’s ruling on his Motions to Compel were clearly

 erroneous because they did not take into account Sann’s continued difficulty in getting discovery

 from Lucas and Landeen. In other words, because of Sann’s failures in the past to get discovery-

 related issues resolved without the Court’s help, he should be excused from employing the self-help

 requirements of the Local Rules in the instant matters. The Court disagrees with Sann’s argument.

 The only evidence Sann presented to the Court that he tried to work out his discovery dispute with

 either Lucas or Landeed prior to seeking the Court’s help is dated prior to the date that either Lucas

 or Landeen provided any discovery. There is no evidence that Sann even attempted to work out a

 resolution before seeking Court intervention. Although the Court recognizes that there have been

 instances in which it has allowed a party to get by with “sparse” evidence of compliance with Local

 Rule 37.1, see Ellison v. Runyan, 147 F.R.D. 186, 188 (S.D. Ind. 1993), this is not such a case. The

 Court sees no error in the Magistrate Judge’s denial of Sann’s motions to compel for failure to

 comply with Local Rule 37.1.

        Sann also argues that the Magistrate Judge erred when he denied, in the alternative, Sann’s

 motion to compel discovery from Landeen on the merits. Sann contends that the Magistrate Judge

 applied the wrong standard, which would require Sann to describe the relevance of documents he

 has never seen. Sann further asserts that the Magistrate Judge took the wrong inferences from

 Sann’s failure to file a reply to his motion. The Court disagrees with Sann that the Magistrate Judge

 used the wrong standard. Federal Rule of Civil Procedure 26(b)(1) allows “discovery of any matter,

 not privileged, which is relevant to the claim or defense of any party.” This is a broad standard such

 that discovery may be had of irrelevant evidence if it might lead to discovery of admissible evidence.


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 On the merits, the Magistrate Judge determined that with respect to Sann’s failure to obtain the

 discovery he asked for with respect to interrogatory no. 2(c), in light of Landeen’s objection to such

 discovery on relevance grounds, Sann had failed to articulate how such discovery would either be

 relevant itself, or lead to the discovery of admissible evidence. Absent such an argument, it was

 within the Magistrate Judge’s discretion to deny Sann’s motion to compel with respect to

 interrogatory no. 2(c).

        For the remainder of Sann’s complaints about Landeen’s answers to interrogatories, the

 Magistrate Judge was not convinced by Sann’s arguments that Sann’s failure to receive the discovery

 was based on Landeen’s refusal to provide information. Rather, the Magistrate Judge stated:

        The Magistrate Judge agrees with Landeen that Sann’s failure to obtain the
        information he sought in interrogatories nos. 6, 8, 11, and 12 was the result of the
        poor drafting of the interrogatories. The Magistrate Judge also agrees with Landeen
        that she provided the information sought in interrogatory no. 16. As for
        interrogatories nos. 17-19, Sann’s entire argument is as follows: “Landeen did not
        provide complete answers to Interrogatories 17-19. The inadequacies of her answers
        were addressed in Sann’s deficiency letter.” The Magistrate Judge declines to sort
        through Sann’s exhibits to find the appropriate arguments relating to these
        interrogatories. Similarly, Sann has not provided sufficient information regarding the
        alleged deficiencies in Landeen’s responses to document requests nos. 3 and 7 and
        why the information he seeks is relevant to the claims and defenses in this case.

 Entry on Mot. Relating to Dis., at 2-3 (Apr. 4, 2007). The Court finds no manifest error in these

 rulings.

        Sann also asserts that the Magistrate Judge erred when he denied Sann’s Motion for Leave

 of Court to Name Expert Witness. The Magistrate Judge denied Sann’s request because Sann failed

 to provide evidence or argument related to “excusable neglect,” the standard for late-filed motions

 under Federal Rule of Civil Procedure 6(b)(2). The Court agrees with the Magistrate Judge that

 Sann has failed to provide evidence of excusable neglect. All of the discovery disputes that Sann


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 contends gave rise to his inability to choose an expert until after the deadline expired occurred well

 before the September 29, 2006, expert disclosure deadline. In other words, given the discovery

 issues that Sann alleges were ongoing when Sann’s new counsel made his appearance in August

 2006, it was incumbent upon Sann to raise the issue of his difficulty in choosing an expert prior to

 the Case Management Plan deadline for such disclosures. Sann cannot now blame the discovery

 disputes for his failure to recognize that he could not meet the deadline; such neglect is not

 “excusable.” As the Seventh Circuit has stated:

        Rule 6(b)(2) is less generous to dawdlers than Rule 4(m), not only in requiring the
        plaintiff to show excusable neglect if his motion for an extension is itself untimely,
        but also in not requiring the judge to grant the motion even if good cause is shown.
        The difference in standards may be accidental, or may reflect the fact that ignoring
        litigation deadlines delays the finality of the litigation, see Committe Not to 1946
        Amendment of Rule 6, Subdivision (b), whereas missing service deadlines merely
        postpones the commencement of litigation. Whatever the explanation, the difference
        is plain enough.

 See United States v. McLaughlin, 470 F.3d 698, 700 (7th Cir. 2006).

        The Court sees no error in the Magistrate Judge’s ruling to deny Sann’s belated request to

 name an expert witness.




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                                     IV. CONCLUSION

        For the foregoing reasons, the Court DENIES: (1) Sann’s Notice of Objections to the

 Magistrate Judge’s entry of November 6, 2006, Docket No. 228; (2) Sann’s Motion for Oral

 Argument on that Notice, Docket No. 229; (3) Sann’s Appeal of Magistrate Judge’s Decision to

 District Court, Docket No. 273; (4) Sann’s Motion for Oral Argument on that Appeal, Docket No.

 274.

        IT IS SO ORDERED this 12th day of June, 2007.



                                                    _________________________________
                                                   ___________________________________
                                                    LARRYJ.J.McKINNEY,
                                                   LARRY       McKINNEY,CHIEF    CHIEFJUDGE
                                                                                       JUDGE
                                                    UnitedStates
                                                   United  StatesDistrict
                                                                  DistrictCourt
                                                                              Court
                                                    SouthernDistrict
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 Distribution attached.




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 Electronically distributed to:

 Daniel K. Burke                                 Donald R. Hostetler
 HOOVER HULL LLP                                 ICE MILLER LLP
 dburke@hooverhull.com                           donald.hostetler@icemiller.com

 Timothy Hemenway Button                         Brett Y. Hoy
 RILEY BENNETT & EGLOFF LLP                      LEWIS & WAGNER
 tbutton@rbelaw.com                              bhoy@lewiswagner.com

 Thomas David Collignon                          Debra McVicker Lynch
 COLLIGNON & DIETRICK PC                         SOMMER BARNARD ATTORNEYS, PC
 tcollignon@cdattorneys.com                      dlynch@sommerbarnard.com

 Dina M. Cox                                     Patrick F. Mastrian III
 LEWIS & WAGNER                                  pmastrian@brown-tompkins-lory.com
 dcox@lewiswagner.com
                                                 J. Mark McKinzie
 Patrick Joseph Dietrick                         RILEY BENNETT & EGLOFF LLP
 COLLIGNON & DIETRICK                            mmckinzie@rbelaw.com
 pdietrick@cdattorneys.com
                                                 Stephen Edwards Plopper
 Michael A. Dorelli                              STEPHEN PLOPPER & ASSOCIATES
 HOOVER HULL LLP                                 splopper@sploplaw.com
 mdorelli@hooverhull.com
                                                 John Carl Trimble
 Jeffrey B. Fecht                                LEWIS & WAGNER
 RILEY BENNETT & EGLOFF LLP                      jtrimble@lewiswagner.com
 jfecht@rbelaw.com
                                                 Michael A. Wukmer
 G. Ronald Heath                                 ICE MILLER LLP
 HOOVER HULL LLP                                 michael.wukmer@icemiller.com
 grheath@hooverhull.com




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